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Oi/
vs. No. 04 » 10089 - T/An
Oi - 2 o 235 - 7‘
JosH vouNc,
Defendant.

 

ORDER GRANT|NG MOT|ON TO CONT|NUE
SENTENC|NG HEAR!NC

 

This cause came before the Court upon the defendant’s Motion to
Continue Sentencing Hearing, and with consent of the United States of America
and counsel for the co-defendant, Brandon Carpenter. For good cause shown,

Defendant’s Motion is granted. The sentencing hearing is rescheduled to

sjc-me 524,. 3005 af $%n.m.

|T |S SO ORDERED.

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This notice confirms a copy of the document docketed as number 49 in
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Honorable J ames Todd
US DISTRICT COURT

